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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                )
                                             )
       v.                                    )      1:21-cr-00038 (CRC)
                                             )
RICHARD BARNETT,                             )
     Defendant                               )
                                             )

                                     NOTICE OF APPEAL

       Comes now Defendant Richard Barnett, by counsel, and notes his appeal of his final

judgment, conviction, and sentencing to the United States Court of Appeals for the District of

Columbia Circuit.

       Further, Defendant respectfully requests he be appointed new counsel pursuant to the

Criminal Justice Act for purposes of his appeal.



Dated: June 5, 2023

                                                            Respectfully submitted,

                                                            /s/ Jonathan S. Gross
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                                 CERTIFICATE OF SERVICE

     I hereby certify on June 5, 2023, a copy of the foregoing was served upon all parties as

                    forwarded through the Electronic Case Filing (ECF) System.

                                     /s/ Jonathan Gross Esq.
                                      Jonathan Gross, Esq.
